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                      UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK

In re Novartis and Par Antitrust Litigation
                                              1:18-cv-04361-AKH

This Document Relates To:

All Actions



 MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL
THIRD PARTY MYLAN TO PRODUCE DOCUMENTS RESPONSIVE TO SUBPOENA
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      I.      INTRODUCTION

           Direct Purchaser Plaintiffs and End-Payor Plaintiffs (collectively, “Plaintiffs”) allege,

among other things, that Novartis made a reverse payment to Par in exchange for an agreement to

delay Par’s launch of generic Exforge until September 30, 2014.1 Because Par was eligible for an

exclusive marketing period as the first to file generic applicant, Par’s agreement not to launch its

generic Exforge created a bottleneck that prevented subsequent generic applicants, like Mylan,

from obtaining FDA approval to sell generic Exforge until the expiration of Par’s 180-day

exclusivity period.2 Thus, Plaintiffs have alleged that Par’s and Novartis’s agreement to delay the

launch of generic Exforge until September 30, 2014 also delayed other generic companies, like

Mylan, from obtaining approval for and launching generic Exforge until March 30, 2015 (181 days

after Par’s generic Exforge launch). The Defendants’ agreement not only delayed entry of Par’s

generic Exforge, it also delayed access to an even lower priced generic Exforge (since generic

Exforge prices would have been lower with more generics on the market), causing additional

economic harm to Plaintiffs.3

           Consequently, whether Mylan would have been, ready, willing, and able to market generic

Exforge earlier than March 2015, when Par’s 180-day exclusivity period ended, is an issue in this

case. In other delayed-generic antitrust cases, courts have repeatedly recognized that evidence of

when other generic filers would have been ready, willing and able to market their generic products

was relevant to issues of, without limitation, causation and damages. See, e.g., In re Namenda

Direct Purchaser Antitrust Litig., 331 F. Supp. 3d 152, 169-72 (S.D.N.Y. 2018) (“Namenda I”);


1
 Dkt. No. 47, Am. Complaint, ¶ 6. Cites to the “Am. Complaint” are to the DPPs’ complaint.
EPPs’ complaint, at Dkt. No. 25, alleges the same conduct.
2
    Id. at ¶¶ 11, 132-137.
3
    Id. at ¶¶ 11, 135-137.
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In re Neurontin Antitrust Litig., No. 02-1390 FSH, 2013 WL 4042460, at *10 (D.N.J. Aug. 8,

2013) (defendant unsuccessfully argued at summary judgment that “Plaintiffs cannot establish that

any alleged antitrust misconduct caused their injury because” generic manufacturer “did not obtain

FDA approval” in time). In order to obtain this relevant evidence from Mylan, Plaintiffs served a

subpoena on Mylan seeking, inter alia, manufacturing, business, and regulatory documents,

showing Mylan’s generic Exforge planning, capacity, and launch preparation actions.

       After several rounds of negotiations, during which Plaintiffs agreed to significantly narrow

their requests, Mylan has agreed only to produce certain discrete, limited categories of

documents—and stands on its objections of relevance and burden with respect to the remaining

categories of documents Plaintiffs seek. Additionally, Mylan has refused to search any custodian’s

files for responsive documents and has refused to produce the majority of documents relating to

Mylan’s ability and willingness to launch its generic Exforge product earlier than it did. In

addition, unlike other third-party generic manufacturers who have received similar subpoenas in

this case, and despite agreeing in principle to produce certain categories of documents, Mylan is

refusing to produce any documents responsive to any requests until such time that Plaintiffs and

Mylan may agree to the entire scope of production (or, presumably, until ordered to produce

responsive documents by the Court).4 Mylan has refused to produce, for example, its generic

Exforge sales data, because Plaintiffs and Mylan have not yet reached agreement on the scope of

Mylan’s production of other documents, despite the lack of dispute as to the relevance of and lack

of burden to producing this sales data.




4
  Ex. 6 at 4. Multiple other generic pharmaceutical manufacturers with whom Plaintiffs are still
negotiating regarding certain subpoena requests have already produced documents and sales data
responsive to other requests included in the subpoenas to those generics.

                                                2
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          Accordingly, Plaintiffs respectfully request that the Court intervene and order Mylan to

produce documents responsive to Plaintiffs’ subpoena Request Nos. 3 and 4 (to the extent Mylan

has not already agreed to produce documents responsive to these requests), and No. 5, which are

more fully described below. Plaintiffs also respectfully request that the Court order Mylan to

promptly produce all documents it has already indicated it is willing and able to produce, but has

refused to thus far given the lack of agreement on other requests, namely, agreed-upon categories

of documents responsive to Request Nos. 1, 2, 3 and 4 (in part), 5, 7, 8, 9, and 15.

    II.       BACKGROUND

          On December 6, 2018, Plaintiffs served a Rule 45 subpoena on Mylan, to be answered by

January 4, 2019. See Ex. 1.5 After asking for and receiving an extension from Plaintiffs, Mylan

served its objections and responses to the subpoena on January 10, 2019. See Ex. 2.6 Thereafter,

Plaintiffs and Mylan communicated multiple times through letters and telephone conferences in

an attempt to resolve Mylan’s objections, including the following communications:

                February 4, 2019 (telephone conference);7
                February 15, 2019 (telephone conference);
                February 25, 2019 (Plaintiffs’ letter to Mylan (Ex. 3));
                March 15, 2019 (Mylan’s letter to Plaintiffs (Ex. 4));
                April 1, 2019 (Plaintiffs’ letter to Mylan (Ex. 5));
                April 8, 2019 (telephone conference); and
                April 15, 2019 (Plaintiffs’ letter to Mylan (Ex. 6)).




5
 Exhibits referenced herein are attached to the Declaration of Dan Litvin, filed contemporaneously
herewith.
6
  These objections and responses were received on January 10, 2019, despite being misdated as
January 10, 2018.
7
 Meet and confer telephone conferences were attended by Dan Chiorean, Robin van der Meulen,
and Deborah Elman on behalf of Plaintiffs and Brendan J. Coffman on behalf of Mylan.

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          Plaintiffs and Mylan compromised and reached agreements regarding the scope of Mylan’s

production in response to several of the subpoena’s requests,8 but Mylan has refused to produce

any documents until agreement is reached on the full scope of the subpoena.9 Specifically, Mylan

has agreed that once the entire scope of production is resolved, it is willing to produce documents

responsive to the following requests, as narrowed by Plaintiffs during our multiple meet and

confers:

          Request No. Topic

          1                Paragraph IV Certification Letters sent to Novartis;

          2                Mylan’s detailed forecasts, including without limitation those that
                           account for the launch of a Novartis Authorized Generic, from the
                           date Mylan’s Abbreviated New Drug Application (“ANDA”) was
                           filed through June 1, 2015;

          3                Mylan’s regulatory correspondence file (i.e., only external
                           communications with FDA) for its generic Exforge ANDA No. 90-
                           483, but not the remainder of the documents sought by Request
                           No. 3;

          4(i) & (ii)      Mylan’s forecasts, but not the remainder of the documents sought
                           by Request 4(i) & (ii);

          4(vii) & 5       Mylan’s scale-up documents, but not the remainder of the
                           documents sought by Request Nos. 4(vii) and 5;

          7                Mylan’s sales data for generic Exforge showing all sales, returns,
                           chargebacks, and price adjustments to direct purchasers for the
                           time period March 30, 2015 through December 31, 2018;10

          8&9              Mylan’s sales data to End Payors for Mylan’s generic Exforge
                           product (if Mylan has such data); and


8
    See generally Ex. 6.
9
    Ex. 6 at 4.
10
  Plaintiffs accepted this compromise with the caveat that they will need to verify, after receiving
Mylan’s production, that the produced chargeback data includes the requested contract/indirect
customer names and addresses. See id. at 3.

                                                    4
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          15             Non-privileged Mylan communications with other third parties
                         regarding pending or threatened litigation by Novartis or another
                         generic competitor regarding Exforge.
          Plaintiffs agreed to forego documents pursuant to Request Nos. 12-14 and 16-21.

Additionally, Mylan represented that it is still investigating whether it possesses documents

responsive to Request Nos. 8-10. Mylan represented it does not possess any documents responsive

to Request No. 11.

          However, despite extensive meet and confers, Mylan refuses to produce large categories

of documents responsive to Requests concerning Mylan’s readiness, willingness, and ability to

come to market earlier with its generic Exforge (Request Nos. 3-5). Specifically, Mylan has

refused to produce:

          Request No. Topic

          3               Mylan’s internal correspondence showing its efforts to obtain
                          approval for its ANDA and other regulatory work during the time
                          period beginning with the date Mylan filed its ANDA and ending
                          on June 1, 2015;11

          4(i)            Mylan’s generic Exforge launch timelines, new product launch
                          meeting minutes, and projections for the time period starting on the
                          date Mylan filed its ANDA and ending on May 1, 2015;12

          4(iii)          Mylan’s generic Exforge launch updates, action items from new
                          product launch meetings, and launch team meeting minutes for the
                          time period starting on the date Mylan filed its ANDA and ending
                          on May 1, 2015;13

          4(iv)           Mylan’s generic Exforge “at-risk” launch analysis and discussions
                          for the time period starting on the date Mylan filed its ANDA and
                          ending on May 1, 2015;14


11
     Ex. 5 at 2-3, 4; Ex. 6 at 2.
12
   Ex. 5 at 2, 4-5; Ex. 6 at 2. As noted above, however, Mylan has agreed to produce Mylan
“forecasts,” but not the remainder of the documents sought by Request No. 4(i). See supra at 5.
13
     Ex. 5 at 2, 4-5; Ex. 6 at 2.
14
     Ex. 5 at 2, 4-5; Ex. 6 at 2.

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             4(v)          Mylan’s manufacturing forecasts for the time period starting on the
                           date Mylan filed its ANDA and ending on May 1, 2015;15

             4(vi)         Documents concerning sourcing of active and inactive generic
                           Exforge ingredients (including communications with any
                           suppliers) for the time period starting on the date Mylan filed its
                           ANDA and ending on May 1, 2015;16

             4(vii)        Documents concerning Exforge exhibit batches, scale up efforts,
                           validation batches, building and maintenance of commercial
                           quantities and/or manufacture, sale, transfer, or destruction of the
                           same for the time period starting on the date Mylan filed its ANDA
                           and ending on May 1, 2015;17 and

             5             Documents concerning whether Mylan could or would have
                           launched generic Exforge before September 30, 2014. Plaintiffs
                           seek documents for the time period starting on the date Mylan filed
                           its ANDA and ending on May 1, 2015.18

             Accordingly, Plaintiffs respectfully request that the Court order Mylan to produce these

categories of documents responsive to Plaintiffs’ subpoena Request Nos. 3-5, and order Mylan to

immediately produce the agreed-upon categories of documents responsive to Request Nos. 1, 2, 3,

4, 5, 7, 8, 9, and 15, as set forth above.

      III.       LEGAL STANDARD

             Motions to compel and motions to quash a subpoena are both “entrusted to the sound

discretion of the district court.” In re Fitch, Inc., 330 F.3d 104, 108 (2d Cir. 2003) (citing United

States v. Sanders, 211 F.3d 711, 720 (2d Cir. 2000)); accord In re World Trade Ctr. Disaster Site




15
     Ex. 5 at 2, 4-5; Ex. 6 at 2.
16
     Ex. 5 at 2, 4-5; Ex. 6 at 2.
17
  Ex. 5 at 2, 4-5; Ex. 6 at 2. As noted above, however, Mylan has agreed to produce Mylan “scale-
up documents,” but not the remainder of the documents sought by Request Nos. 4(vii) and 5. See
supra at 5.
18
     Ex. 5 at 2, 6; Ex. 6 at 2; Ex. 1 at 9-10.

                                                     6
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Litig., No. 05-cv-9141, 2009 WL 4722250, at *2 (S.D.N.Y. Dec. 9, 2009) (Hellerstein, J.) (citing

In re Fitch, 330 F.3d at 108).

       “The relevance standards set out in Federal Rule of Civil Procedure 26(b)(1) apply to

discovery sought from non-parties,” which provides that “Parties may obtain discovery regarding

any non privileged matter that is relevant to any party’s claim or defense and proportional to the

needs of the case, considering the importance of the issues at stake in the action, the amount in

controversy, the parties’ relative access to relevant information, the parties’ resources, the

importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.” Mackey v. IDT Energy, Inc., No. 19 MISC. 29

(PAE), 2019 WL 2004280, at *3 (S.D.N.Y. May 7, 2019) (citing Citizens Union of City of N.Y. v.

Attorney General of N.Y., 269 F. Supp. 3d 124, 139 (S.D.N.Y. 2017) and Fed. R. Civ. P. 26(b)(1)).

“‘The party seeking discovery bears the initial burden of proving the discovery is relevant.’”

Mackey, 2019 WL 2004280, at *3 (quoting Citizens Union of City of N.Y., 269 F. Supp. 3d at 139).

“If the party issuing the subpoena establishes the relevance of the materials sought, the burden

then shifts to the movant to demonstrate an undue burden.” Mackey, 2019 WL 2004280, at *3

(citing Griffith v. United States, No. M8-85 (JFK), 2007 WL 1222586, at *2 (S.D.N.Y. Apr. 25,

2007)). “Whether a subpoena imposes an undue burden depends upon such factors as relevance,

the need of the party for the documents, the breadth of the document, the time period covered by

it, the particularity with which the documents are described and the burden imposed.” Mackey,

2019 WL 2004280, at *3 (quoting Night Hawk Ltd. v. Briarpatch Ltd., No. 03 Civ. 1382 (RWS),

2003 WL 23018833, at *8 (S.D.N.Y. Dec. 23, 2003) (internal quotations omitted)); see also In re

Biovail Corp. Sec. Litig., 247 F.R.D. 72, 74 (S.D.N.Y. 2007) (“where, as here, [information] is

sought from third parties, the Court must weigh the probative value of the information against the



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burden of production on said non-parties.”). The trial court has broad discretion to determine

whether a subpoena imposes an undue burden. Mackey, 2019 WL 2004280, at *3 (citing Jones v.

Hirschfeld, 219 F.R.D. 71, 74 (S.D.N.Y. 2003)).

      IV.        ARGUMENT

                 A. The Discovery Sought Is Relevant in Reverse Payment Cases

            Evidence that, absent Defendants’ conduct, Mylan would have been ready, willing, and

able to market generic Exforge earlier than March 2015 (when Mylan launched immediately after

Par’s 180-day exclusivity ended) is relevant to Plaintiffs’ proof of causation and damages, as courts

have recognized in similar delayed-generic-drug antitrust cases. See, e.g., Namenda I, 331 F.

Supp. 3d at 169-72; Neurontin, 2013 WL 4042460 at *10 (rejecting defendant’s argument at

summary judgment that “Plaintiffs cannot establish that any alleged antitrust misconduct caused

their injury because” generic manufacturer “did not obtain FDA approval” in time); In re Namenda

Direct Purchaser Antitrust Litig., No. 15-civ-7488 (CM) (JCF), 2017 WL 3822883, at *5

(S.D.N.Y. Aug. 30, 2017) (“Namenda II”) (documents sought are “integral to a meaningful

understanding of the company’s efforts to launch the product”).

            Mylan argues that Plaintiffs have “failed to explain the relevance of many of their

requests,”19 and that Plaintiffs have not shown a “legitimate need” for the documents Mylan has

refused to produce.20 However, as Plaintiffs have explained to Mylan, because Plaintiffs allege

that later filing generic manufacturers, such as Mylan, would have been ready, willing, and able to

launch earlier than March 2015 absent the Novartis-Par agreement, Mylan’s documents are

relevant to show whether it had the capability, equipment, manpower, facilities, ingredients,



19
     Ex. 4 at 1.
20
     Id. at 3.

                                                 8
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packaging, planning, regulatory approval (or ability to obtain such approval), and other capabilities

to effectuate an earlier launch.21 Moreover, Plaintiffs cannot obtain this information about Mylan

from any entity other than Mylan.

          Notwithstanding its objection, Mylan cannot seriously dispute the relevance of its ability

and willingness to market its generic product earlier. Mylan itself has been a defendant or plaintiff

in a number of similar pharmaceutical antitrust cases, and has repeatedly argued that information

about a company’s ability and willingness to launch is relevant. For instance, Mylan’s proposed

jury instructions in a recent case argued the importance of proving that Mylan and other generic

companies “could and would have lawfully launched a generic [] product in the United States,”

and that the challenged agreement “caused a delay in the lawful launch.”22

          Disputed Request Nos. 3-5 all go to Mylan’s readiness, ability, and/or willingness to launch

its generic Exforge product earlier, or the timing of when Mylan would have launched generic

Exforge absent Defendants’ allegedly unlawful conduct. In sum, the information sought by the

Requests in dispute is relevant to this case (as Mylan itself has argued in other cases), needed by

Plaintiffs, and only obtainable from Mylan.

              B. The Requests Are Not Unduly Burdensome to Mylan

          Plaintiffs’ subpoena was narrowly tailored to seek relevant documents, which Plaintiffs’

counsel identified based on our extensive experience litigating similar pharmaceutical antitrust

cases. Additionally, in an effort to mitigate any burden on a third party like Mylan, Plaintiffs have


21
     Ex. 5 at 3, 5.
22
  Ex. 7, Defendants’ Proposed Preliminary Jury Instructions, Dkt. No. 991-4, King Drug Company
of Florence, Inc. vs. Cephalon, Inc., et al., Case 2:06-cv-01797-MSG (E.D. Pa., Jan. 13, 2016), at
27 (“In order to prove that a patent litigation settlement caused that Plaintiffs’ alleged injuries,
Plaintiffs must first prove that the settling Generic Defendant could and would have lawfully
launched a generic Provigil product in the United States in 2006 if that settlement had not been
entered into, as the Plaintiffs have alleged they would.”); id. at 23.

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agreed to forgo several of their original Requests, as well as to narrow nearly all the other

Requests—both in time period and subject matter. See generally Exs. 5, 6 (summarizing the

agreements with Mylan thus far, including which Requests Plaintiffs agreed to drop, as well as the

extent to which Plaintiffs agreed to further narrow other requests).          Compliance with the

remaining, narrowed Requests in dispute would not unduly burden Mylan.

          Notwithstanding Plaintiffs’ compromises, Mylan has flatly refused to conduct any

custodial searches or run search terms in order to identify responsive documents, alleging that

doing so would be “unduly burdensome, unnecessary in light of what we have offered to produce, and

not proportionate to the needs of plaintiffs.”23 Mylan has claimed undue burden despite not

providing any substantiation of the claimed burden,24 and despite acknowledging in similar cases

that its internal custodians and departments would have responsive information.25

          But a custodial review of documents is a standard feature of modern discovery. 26 What

Mylan “describes as an undue burden is merely the typical process for a corporation responding to

document requests.” Kenyon v. Simon & Schuster, Inc., No. 16 MISC. 327 (P1), 2016 WL



23
     Ex. 4, at 2.
24
   Although Mylan has provided some very vague, minimal information in this case regarding
potential costs of production, Mylan has not indicated the number of documents at issue nor the
number of custodians with potentially relevant information. See, e.g., id. at 6 (Mylan estimating
that its “[c]ompliance with plaintiffs’ subpoena will require vastly more resources than usual,
potentially reaching six-digit figures. While Mylan’s costs can change depending on the scope of
any agreement we may reach, Mylan will be willing to detail the costs of compliance when we
reach that step.”).
25
     See, e.g., infra, at 11-12 (discussing the Doryx case).
26
   The Court’s September 26, 2018, Order regarding production of documents also contemplates
that third parties would identify custodians and produce documents therefrom. See, e.g., Dkt. No.
25, at 17, ¶ 5.2 (“After the Producing Party serves its Responses and Objections to Requests for
Production, the Producing Party shall identify its own proposed individual custodians (including
their title) within 14 days.”); see also id. at 3, ¶ 1.10 (defining “Producing Party” as “any Party or
third party that produces hard copy or ESI Documents in this Action.”).

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5930265, at *5 (S.D.N.Y. Oct. 11, 2016), (citing The Sedona Conference, The Sedona Conference

Best Practices Commentary on the Use of Search & Information Retrieval Methods in E-

Discovery, 2014 Sedona Conf. J. 217, 244 (2014)). It is common, in response to a Rule 45

subpoena, for parties to agree to run custodial searches on a “reasonable number of custodians and

a reasonable list of keywords to search.” Id. at *7.

           For example, when Mylan itself was a plaintiff in a pharmaceutical antitrust case (the

“Doryx case”), it proposed a “discovery approach ... aimed to strike an appropriate balance on the

sliding scale of relevancy versus burden.”27 For the drug at issue in the Doryx case, Mylan

proposed producing a much larger collection of documents than Plaintiffs have requested from

Mylan in this case, which involves similar issues, scale, and damages. See, e.g., id. at 3. Notably,

the much broader set of documents offered up by Mylan in the Doryx case encompass several

subsets of documents that Mylan claims are too burdensome to produce in this case, such as “[a]ll

responsive files from Regulatory department and senior employees regarding communications

with FDA” and “[a]ll responsive files from Commercial Operations and Launch Management (aka

Project Management) departments and senior employees regarding logistics and planning for

launching products.”28 Also, of note, Mylan agreed that it was “reasonable” in that case to search

“nineteen individual custodians and nine departmental custodians” regarding the drug at issue.29

In this case, recognizing that Mylan is a third party, Plaintiffs are only asking Mylan to produce a

smaller set of documents, from a smaller set of custodians.30 However, like the same documents


27
  Ex. 8, Dkt. No. 107, Mylan Pharms. v. Warner Chilcott, et al., Case 2:12-cv-03824-PD (E.D.
Pa., Nov. 12, 2012), at 3.
28
     Id.
29
     Id. at 2.
30
  See, e.g., Ex. 5, at 4 (“[T]his request is proportional, and does not seek every document or every
email from every Mylan custodian discussing Mylan’s ANDA. Rather, a targeted search of one

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in the Doryx case, these documents are clearly relevant, not unduly burdensome, and well within

Mylan’s ability to produce.

          Moreover, Mylan’s own pleadings in other similar, contemporaneous cases make clear that

it is not unduly burdensome to seek custodial information from third parties. Indeed, at the same

time Mylan was objecting to searching custodial documents as unduly burdensome for this case,

Mylan itself was seeking custodial searches from a third party in another set of coordinated

pharmaceutical antitrust cases. On December 21, 2018, Mylan filed an ultimately successful

motion to compel, seeking “an order requiring non-party The Segal Group, Inc. (“Segal”) to

identify custodians likely to have information relevant to Mylan’s subpoena and to search for and

produce email communications from those custodians.”31 Mylan contended the information

sought by the subpoena was “clearly relevant to, among other issues, whether [Plaintiff] suffered

any injury due to [Defendants’] actions” and “what a reasonable damages model may look like.”32

In seeking that discovery, Mylan claimed that “[t]here is no valid basis for Segal’s refusal to

identify and search proper ESI custodians,”33 and that “[i]n the modern era, electronic

communications are ubiquitous, and it is routine for subpoenas to seek such discovery of ESI. . . .

Segal’s refusal to produce e-mails from custodians likely to have relevant documents without




or two custodians during the narrow time period beginning with the date Mylan filed its ANDA
and ending on 6/1/2015 would be sufficient for Plaintiffs’ needs.”); id. at 5 (“For subparts (iv) and
(vi) [of Request No. 4], Plaintiffs believe that targeted, efficient searches of two or three custodians
limited to the time period Plaintiffs seek can be used to obtain the documents we seek.”).
31
 In re EpiPen (Epinephrine Injection, USP) Mktg., Sales Practices & Antitrust Litig., No. 17-
MD-2785-DDC-TJJ, 2019 WL 1004145, at *1 (D. Kan. Feb. 28, 2019).
32
  Id. at *2, n.12; Ex. 9 at 6 (same). Segal was not a potentially excluded or delayed competitor,
but rather a third party through whom one of the class representatives communicated, negotiated,
and contracted with pharmacy benefit managers. See In re EpiPen, 2019 WL 1004145, at *2.
33
     Ex. 9 at 2.

                                                  12
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providing an evidentiary basis of burden is unreasonable.”34 Mylan also argued that “Segal has

taken the position that any email search at all is unreasonable, which is contrary to law.” 35 Just

like the third-party discovery Mylan itself successfully compelled in the EpiPen case, Mylan

should be required to conduct reasonable custodial searches for the relevant information sought by

Plaintiffs in this case.

          Mylan has also not substantiated its burden claim, which requires the Court to weigh the

burden to the subpoenaed party against the value of the information to the serving party.36 This

analysis depends upon factors such as relevance, the need of the party for the documents, the

breadth of the document request, the time period covered by it, the particularity with which the

documents are described and the burden imposed. Namenda II, 2017 WL 3822883, at *6 (rejecting

a third party subpoena target’s unsubstantiated burden claim as “anemic”); AmTrust N. Am., Inc.

v. Preferred Contrs. Ins. Co. Risk Retention Grp., LLC, No. 16-mc-0340 (CM), 2016 U.S. Dist.

LEXIS 145705, at *12 (S.D.N.Y. Oct. 18, 2016) (rejecting burden claim), (citing Copantitla v.

Fiskardo Estiatorio, Inc., No. 09 CIV. 1608, 2010 U.S. Dist. LEXIS 33430, at *32 (S.D.N.Y. Apr.

5, 2010)). Despite Mylan’s refusals to produce the documents Plaintiffs seek and its contention

that these requests are “excessively burdensome and costly,” Mylan has not substantiated its



34
     Id. at 8-9.
35
     Ex. 10 at 7 n.8.
36
   In Mylan’s motion to compel in the EpiPen case, Mylan criticized third party Segal for similarly
failing to substantiate Segal’s claimed burden of the compelled production, and for refusing to
discuss certain custodial searches. See, e.g., Ex. 9 at 10 (“Segal has not met its obligation to show
that the clear relevance of the information sought is outweighed by any burden at all. Nowhere in
Segal’s Objections and Responses does Segal articulate why undue burden would result from these
searches. Segal therefore has not provided Mylan with any indication of the number of documents
at issue, the potential number of custodians with relevant information, or any estimated costs
connected to compliance with Mylan’s Subpoena. Nor could it have done so, given that Segal has
refused even to discuss to the custodians that Mylan is seeking.”).

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objections by “detailing the volume of documents at issue or the number of personnel hours that

would be necessary to produce the [requested] documents.” In re Namenda Direct Purchaser

Antitrust Litig., 15 Civ. 7488, 2017 WL 4700367, at *6 (S.D.N.Y. Oct. 19, 2017) (“Namenda III”).

       In response to a portion of Request No. 3, Mylan has agreed to produce only the external

regulatory correspondence for its application to the FDA to sell generic Exforge (ANDA No. 90-

483), but it has refused to search for and produce related internal Mylan correspondence and

documents from custodial or other document searches (including, e.g., email correspondence and

meeting minutes) sufficient to show efforts to obtain approval for this application. Mylan’s offer

is insufficient. The number of custodians at issue here is limited, and within a sophisticated

company like Mylan, these types of documents are typically generated and maintained by a defined

regulatory department.    Moreover, because Mylan has identified relevant custodians and

departments for similar information in similar litigation,37 any burden on Mylan to do so in this

case is mitigated. Mylan has not provided meaningful information regarding the burden of fully

complying with this request.

       Likewise, responsive to a portion of Request Nos. 4 and 5, Mylan has agreed to produce

certain forecasts and launch-preparation-related documents (what Mylan calls “scale-up

documents”), but has refused to search for the bulk of documents responsive to these requests,

including:

             Generic Exforge launch timelines, new product launch meeting minutes,
       launch updates, action items from new product launch meetings, launch team
       meeting minutes;

              Generic Exforge “at-risk” launch analyses and discussions;

              Sourcing of generic Exforge active and inactive ingredients used in

37
  See, e.g., supra at 11-12 (discussing Mylan’s production of a broader set of regulatory
documents in the Doryx case); see also Ex. 8 at 3.

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       manufacturing its generic Exforge, related communications with suppliers of
       those ingredients (including orders placed);

             Documents regarding manufacturing sites, facilities, equipment, and other
       resources used in the development, scale-up, validation, commercial
       manufacturing, and launch of Mylan’s generic Exforge;

              Documents concerning CGMP,38 facility inspections, manufacturing,
       quality control, or quality assurance regarding any manufacturing sites used in the
       launch its generic Exforge;

              Documents relating to actual or theoretical manufacturing capacity and the
       limiters on that capacity to produce Mylan’s generic Exforge;

            Documents sufficient to show amount of inventory of generic Exforge that
       Mylan had on hand at the time of anticipated launch of its generic Exforge;

             Documents sufficient to show batch sizes, manufacturing process,
       throughput times per batch, and manufacturing rates for Mylan’s generic Exforge;
       and

             Any other documents concerning why Mylan could not or would not
       launch generic Exforge prior to September 30, 2014.

       Mylan has not provided meaningful information regarding the burden of complying with

these Requests, and has refused to even consider conducting custodial or search term searches.

Moreover, the categories of documents Mylan refuses to produce are precisely the kind of

documents the Namenda court said would be relevant to whether a generic could have entered the

market earlier. Such evidence could bear on: (i) issues regarding the supply of excipients (inactive

ingredients); (ii) whether there would have been any equipment failures or manufacturing issues

earlier in the but-for world that did not exist when Mylan actually launched its generic Exforge in



38
   Current Good Manufacturing Practices are “[t]he main regulatory standard for ensuring
pharmaceutical quality” – a set of FDA-enforced regulations that “provide for systems that assure
proper design, monitoring, and control of manufacturing processes and facilities.” See Food and
Drug Administration, Facts About the Current Good Manufacturing Practices (CGMPs) available
at        https://www.fda.gov/drugs/pharmaceutical-quality-resources/facts-about-current-good-
manufacturing-practices-cgmps.

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April 2015; (iii) whether manufacturing capacity was already being used to manufacture other

drugs “such that it could not readily have been converted to [Exforge] at that time”; and

(iv) whether Mylan’s generic Exforge would have been prioritized over those other drugs.39

Again, because Mylan has already identified the relevant custodians and departments who possess

the requested categories of information in similar litigation,40 any burden on Mylan to do so in this

case is mitigated.

           Plaintiffs’ Subpoena Request Nos. 3-5 are not unduly burdensome, and Mylan should be

ordered to comply with them.

      V.      CONCLUSION

           The documents sought by Plaintiffs are relevant, appropriately limited in scope, and not

unduly burdensome for Mylan to collect and produce. For the foregoing reasons, Plaintiffs

respectfully request that this Court grant Plaintiffs’ Motion to Compel and order Mylan to: (a)

produce documents responsive to Plaintiffs’ subpoena Requests Nos. 3, 4(i), 4(iii), 4(iv), 4(v),

4(vi), 4(vii), and 5 as narrowed in Plaintiffs’ April 1, 2019 letter to Mylan (Ex. 5) and explained

on pages 6-7, supra; and (b) immediately produce the documents Mylan has already agreed to

produce in response to Requests Nos. 1, 2, 3, 4(i), 4(ii), 4(vii), 5, 7, 8, 9, and 15, as set forth in

Exs. 5 and 6 and explained on page 5, supra.




39
     See Namenda I, 331 F. Supp. 3d at 171.
40
  See, e.g., supra at 11-12 (discussing Mylan’s production of a broader set of documents in the
Doryx case, including “logistics and planning for launching products”); see also Ex. 8 at 3.

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Dated: May 17, 2019


                                                   Respectfully Submitted,


                                                   /s/ Dan Litvin



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                               CERTIFICATE OF SERVICE
       I hereby certify that on May 17, 2019, I, Dan Litvin, served the above Memorandum of
Law via ECF on all counsel of record and via email on third party Mylan, Inc.

Dated: May 17, 2019



                                                   Respectfully Submitted,

                                                   /s/ Dan Litvin

                                                   Dan Litvin




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